Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 1 of 43

                    Exhibit A
Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 2 of 43
Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 3 of 43
Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 4 of 43
Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 5 of 43
Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 6 of 43
                                                                                                                                            State Court of Fulton County
                 Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 7 of 43                                                                              **E-FILED**
                                                                                                                                                             22EV001223
                                                                                                                                                      3/3/2022 11:58 AM
                                                                                                                                             Christopher G. Scott, Clerk
                                                                                                                                                            Civil Division
                                                                   AFFIDAVIT 0F SERVICE
State of Georgia                                                              County of Fulton                                                   State Court

Case Number: 22EV001223
Plaintiff: Anielka Medrano
vs.
Defendant: FC Oaks, LLC and Franklin Johnston Group Management 8.
Development, LLC
For:
Noah Rosner
Rosner Law Group
Northridge 400, Building 2
8325 Dunwoody Place
Atlanta, GA 30350
Received by Ancillary Legal Corporation on the 28th day of February, 2022 at 10:15 am to be served on FC
Oaks LLC c/o lncorp Services, Inc. - Registered Agent, 9040 Roswell Road, Suite 500, Atlanta, GA
30350.

I,Ericka McMillon, being duly sworn, depose and say that on the 1st day of March, 2022 at 2:08 pm, l:
served FC Oaks LLC clo lncorp Services, Inc. - Registered Agent by delivering a true copy of the
Summons, Complaint for Damages, Plaintiff's First lnterrogatories. Request For Admissions and
                                                                             Inc. as Registered Agent,
Request For Production of Documents to Defendants to: Incorp Services,
BY LEAVING THE SAME WITH Marisa Evans as Authorized to accept at the address of: 9040
Roswell Road, Suite 500, Atlanta, GA 30350.



Additional Information pertaining to this Service:
3/1/2022 2:08 pm Perfected corporate service at 9040 Roswell Road, Suite 500, Atlanta, GA 30350.
Served to Marisa Evans, paralegal, authorized to accept. White female, age ~25 to 30, height ~5'7, weight
~140|bs, Brown hair and no glasses


 am an agent of Ancillary Legal Corporation and am competent in all respects to testify regarding the
 I

matters set forth herein. have personal knowledge of the facts stated herein and know them to be true.l
                                             I


have no interest in the outcome of this action and am not related to any of the parties. am 18 or more                                      I



years of age and am authorized to serve process.


                                                                                                     Ericka McMillon
 Subscrib d and Sworn to before me on theg'hmﬁk                                                      Process Server
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 who is parsonally known to me.                                                                      Ancillary Legal Corporation
                                                                                                     2900 Chamblee Tucker Road
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                  PUBLIC
                                                 .2           W                                      Building 13
                                                                                                     Atlanta, GA 30341
                                                                                                      (404) 459-8006
                                   "0,,                                                               Our Job Serial Number: ANC-2022002013
                                        A.                                                            Ref: Medrano



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                Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 8 of 43                                                                      **E-FILED**

                                                                    Exhibit B
                                                                                                                                                    22EV001223
                                                                                                                                             3/3/2022 12:44 PM
                                                                                                                                    Christopher G. Scott, Clerk
                                                                                                                                                   Civil Division
                                                        AFFIDAVIT OF SERVICE
     State of Georgia                                               County of Fulton                                                    State Court
     Case Number: 22EV001223
    Plaintiff: Anielka Medrano
    vs.
    Defendant: FC Oaks, LLC and Franklin Johnston
                                                  Group Management &
    Development, LLC
    For:
    Noah Rosner
    Rosner Law Group
    Northridge 400, Building 2
    8325 Dunwoody Place
    Atlanta, GA 30350
    Received by Ancillary Legal Corporation on the 28th day of
                                                               February, 2022 at 10:25 am to be served on
    Franklin Johnston Group Management & Development clo
    900 Old Roswell Lakes Parkway, Suite 310, Roswell, GA 30076.
                                                                  Cogency Global Inc. - Registered Agent,

    l,   Joyce Clemmons, being duly sworn, depose and say that on the 1st day of March, 2022 at 10:42 am, l:
served Franklin Johnston Group Management & Development c/o
                                                               Cogency Global Inc. - Registered
Agent by delivering a true copy of the Summons, Complaint for Damages, Plaintiff's First
lnterrogatories. Request For Admissions and Request For Production of Documents to
Defendants to: Lacey Gowens as Authorized to accept for Franklin Johnston
                                                                             Group Management &
Development, at the address of: 900 Old Roswell Lakes Parkway, Suite 310, Roswell, GA 30076.

Additional Information pertaining to this Service:
3/1/2022 10:42 am Perfected corporate service at 900 Old Roswell Lakes                                                     Suite
                                                                       Parkway,
GA 30076, Served, Lacey Gowens, Authorized Recipient, white, female, ~30's,            310, Roswell,
                                                                            ~52-5’5, ~135-160 |bs.,
reddish brown hair, glasses in hand.


 am an agent of Ancillary Legal Corporation and am
                                                     competent in all respects to          regarding the
|



matters set forth herein. have personal knowledge of the facts stated herein andtestify
                                  |
                                                                                   know them to be true.|
have no interest in the outcome of this action and am not related to
                                                                     any of the parties. l am 18 or more
years of age and am authorized to serve process.



                                                                                       J
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Subscrib    nd Sworn to before me on the                         5d                        y
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                                                                                                  erver
day of                              the affiant
who is ersonally known to me.                                                          A cillary Legal Corporation
                                                                                       2900 Chamblee Tucker Road
                                                                                       Building 13
NOTARY PUBLIC                                                                          Atlanta, GA 30341
                                                                                       (404) 459-8006
              “‘“immrmuhh
           ‘“y‘A ROBE? a,”’
                 --
                                                                                       Our Job Serial Number: ANC-2022002014
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                                      Copyright   © 1992-2022   Database Services, Inc, - Process Server's Toolbox V8.2h
                                                                                  State Court of Fulton County
        Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 9 of 43                             **E-FILED**
                                                                                                   22EV001223

                                       Exhibit C
                                                                                            3/30/2022 9:57 AM
                                                                                   Christopher G. Scott, Clerk
                                                                                                  Civil Division
                      IN THE STATE COURT OF FULTON COUNTY
                                STATE OF GEORGIA

ANIELKA MEDRANO,          )
                          )
           Plaintiff,     )
                          )
v.                        )
                          )
                                                                 Civil Action
                          )
FC OAKS, LLC and FRANKLIN                                   File No.: 22EV001223
                          )
JOHNSTON GROUP MANAGEMENT
                          )
& DEVELOPMENT, LLC,       )
                          )
           Defendants.    )

                            DEFENDANT FC OAKS, LLC ’S
                         ANSWER TO PLAINTIFF’S COMPLAINT

       COMES NOW, Defendant FC Oaks, LLC (“Defendant”), and responds to Plaintiff’s

Complaint as follows:

                                       FIRST DEFENSE

       Plaintiff’s Complaint fails to state a claim or cause of action upon which relief can be

granted against this Defendant.

                                      SECOND DEFENSE

       Plaintiff’s Complaint fails to state a claim or cause of action for attorneys’ fees and

expenses of litigation upon which relief can be granted against this Defendant.

                                      THIRD DEFENSE

       This Defendant, through its agents and employees, exercised that degree of skill and care

required of them under Georgia law.

                                      FOURTH DEFENSE

       This Defendant breached no duty owed to Plaintiff.
       Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 10 of 43




                                       FIFTH DEFENSE

       The injuries suffered by Plaintiff and the damages alleged by Plaintiff were not

proximately caused by any negligent act or omission on the part of this Defendant.

                                       SIXTH DEFENSE

       Plaintiff failed to exercise ordinary care for her own safety.

                                     SEVENTH DEFENSE

       Plaintiff, through the exercise of ordinary care, could have avoided Plaintiff’s alleged

damages.

                                       EIGHT DEFENSE

       Plaintiff had equal knowledge of any alleged hazard or danger.

                                       NINTH DEFENSE

       Any alleged hazard or danger was open and obvious.

                                       TENTH DEFENSE

       Plaintiff’s claims are barred by the doctrine of assumption of the risk.

                                    ELEVENTH DEFENSE

       Plaintiff failed to mitigate her injuries and damages.

                                     TWELFTH DEFENSE

       Without waiving any of the above enumerated defenses, this Defendant answers the

numbered paragraphs of Plaintiff’s Complaint as follows:

                                                 1.

       Defendant admits the allegations contained in Paragraph 1 of Plaintiff’s Complaint.

                                                 2.

       Defendant admits the allegations contained in Paragraph 2 of Plaintiff’s Complaint.




                                            PAGE 2 OF 6
        Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 11 of 43




                                                3.

        Defendant admits the allegations contained in Paragraph 3 of Plaintiff’s Complaint.

                                                4.

        Defendant admits the allegations contained in Paragraph 4 of Plaintiff’s Complaint.

                                                5.

        Upon information and belief, Defendant admits the allegations contained in Paragraph 5

of Plaintiff’s Complaint.

                                                6.

        Defendant admits that it owed those duties required by law, but denies the remaining

allegations contained in Paragraph 6 of Plaintiff’s Complaint.

                                                7.

        Responding to the first two sentences of Paragraph 7 of Plaintiff’s Complaint, Defendant

denies the stairs were improperly maintained, and lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations contained therein, and therefore,

Defendant can neither admit nor deny said allegations. Responding further, Defendant denies

the allegations contained in the third sentence of Paragraph 7 of Plaintiff’s Complaint.

                                                8.

        Defendant incorporates herein its responses to Paragraphs 1 through 7 above as if fully

set forth herein.

                                                9.

        Responding to the first sentence contained in Paragraph 9 of Plaintiff’s Complaint,

Defendant admits that it owed those duties required by law, but denies the remaining allegations.

Responding further, Defendant denies the allegations contained in the second sentence of




                                           PAGE 3 OF 6
          Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 12 of 43




Paragraph 9 of Plaintiff’s Complaint, and all subparagraphs in Paragraph 9.

                                                  10.

          Defendant denies the allegations contained in Paragraph 10 of Plaintiff’s Complaint.

                                                  11.

          Defendant incorporates herein its responses to Paragraphs 1 through 10 above as if fully

set forth herein.

                                                  12.

          Defendant denies the allegations contained in Paragraph 12 of Plaintiff’s Complaint.

                                                  13.

          Responding to the last unnumbered Paragraph of Plaintiff’s Complaint, and all

subparagraphs contained therein, this Defendant denies that Plaintiff is entitled to any recovery

against this Defendant in any form, fashion or amount whatsoever.

                                                  14.

          Any allegations in Plaintiff’s Complaint not specifically responded to above, are hereby

denied.

          WHEREFORE, having fully responded to Plaintiff’s Complaint, Defendant FC Oaks,

LLC demands that same be dismissed with costs assessed against the Plaintiff.

                  This 30th day of March, 2022.

                                                        COPELAND, STAIR,
                                                           VALZ & LOVELL, LLP


                                                  By:     /s/ Jay M. O’Brien
                                                        JAY M. O’BRIEN
                                                        State Bar No.: 234606
                                                        Counsel for Defendants
191 Peachtree Tower, Suite 3600
191 Peachtree Street NE


                                             PAGE 4 OF 6
       Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 13 of 43




Atlanta, Georgia 30303-1740
Phone: 404-522-8220
jobrien@csvl.law




                                  PAGE 5 OF 6
        Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 14 of 43




                                 CERTIFICATE OF SERVICE

       I hereby certify that I have this day served a copy of the within and foregoing

DEFENDANT FC OAKS, LLC’S ANSWER TO PLAINTIFF’S COMPLAINT upon all

parties to this matter via electronic filing and service to counsel of record as follows:

                                           Noah Rosner
                                    ROSNER LAW GROUP, P.C.
                                    Northridge 400, Building 2
                                      8325 Dunwoody Place
                                       Atlanta, GA 30350
                                     noahrosner@yahoo.com
                                       Counsel for Plaintiff

       This 30th day of March, 2022.

                                                  COPELAND, STAIR,
                                                     VALZ & LOVELL, LLP


                                                  By:     /s/ Jay M. O’Brien
                                                        JAY M. O’BRIEN
                                                        State Bar No.: 234606
                                                        Counsel for Defendants




                                             PAGE 6 OF 6
                                                                                  State Court of Fulton County
       Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 15 of 43                             **E-FILED**
                                                                                                   22EV001223
                                                                                            3/30/2022 9:57 AM
                                       Exhibit D                                   Christopher G. Scott, Clerk
                                                                                                  Civil Division
                      IN THE STATE COURT OF FULTON COUNTY
                                STATE OF GEORGIA

ANIELKA MEDRANO,          )
                          )
           Plaintiff,     )
                          )
v.                        )
                          )
                                                                 Civil Action
                          )
FC OAKS, LLC and FRANKLIN                                   File No.: 22EV001223
                          )
JOHNSTON GROUP MANAGEMENT
                          )
& DEVELOPMENT, LLC,       )
                          )
           Defendants.    )

          DEFENDANT FRANKLIN JOHNSTON GROUP MANAGEMENT &
          DEVELOPMENT, LLC’S ANSWER TO PLAINTIFF’S COMPLAINT

       COMES NOW, Defendant Franklin Johnston Group Management & Development, LLC

(“Defendant”), and responds to Plaintiff’s Complaint as follows:

                                       FIRST DEFENSE

       Plaintiff’s Complaint fails to state a claim or cause of action upon which relief can be

granted against this Defendant.

                                      SECOND DEFENSE

       Plaintiff’s Complaint fails to state a claim or cause of action for attorneys’ fees and

expenses of litigation upon which relief can be granted against this Defendant.

                                      THIRD DEFENSE

       This Defendant, through its agents and employees, exercised that degree of skill and care

required of them under Georgia law.

                                      FOURTH DEFENSE

       This Defendant breached no duty owed to Plaintiff.
       Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 16 of 43




                                       FIFTH DEFENSE

       The injuries suffered by Plaintiff and the damages alleged by Plaintiff were not

proximately caused by any negligent act or omission on the part of this Defendant.

                                       SIXTH DEFENSE

       Plaintiff failed to exercise ordinary care for her own safety.

                                     SEVENTH DEFENSE

       Plaintiff, through the exercise of ordinary care, could have avoided Plaintiff’s alleged

damages.

                                       EIGHT DEFENSE

       Plaintiff had equal knowledge of any alleged hazard or danger.

                                       NINTH DEFENSE

       Any alleged hazard or danger was open and obvious.

                                       TENTH DEFENSE

       Plaintiff’s claims are barred by the doctrine of assumption of the risk.

                                    ELEVENTH DEFENSE

       Plaintiff failed to mitigate her injuries and damages.

                                     TWELFTH DEFENSE

       Without waiving any of the above enumerated defenses, this Defendant answers the

numbered paragraphs of Plaintiff’s Complaint as follows:

                                                 1.

       Defendant admits the allegations contained in Paragraph 1 of Plaintiff’s Complaint.

                                                 2.

       Defendant admits the allegations contained in Paragraph 2 of Plaintiff’s Complaint.




                                            PAGE 2 OF 6
        Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 17 of 43




                                                3.

        Defendant admits the allegations contained in Paragraph 3 of Plaintiff’s Complaint.

                                                4.

        Defendant admits the allegations contained in Paragraph 4 of Plaintiff’s Complaint.

                                                5.

        Upon information and belief, Defendant admits the allegations contained in Paragraph 5

of Plaintiff’s Complaint.

                                                6.

        Defendant admits that it owed those duties required by law, but denies the remaining

allegations contained in Paragraph 6 of Plaintiff’s Complaint.

                                                7.

        Responding to the first two sentences of Paragraph 7 of Plaintiff’s Complaint, Defendant

denies the stairs were improperly maintained, and lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations contained therein, and therefore,

Defendant can neither admit nor deny said allegations. Responding further, Defendant denies

the allegations contained in the third sentence of Paragraph 7 of Plaintiff’s Complaint.

                                                8.

        Defendant incorporates herein its responses to Paragraphs 1 through 7 above as if fully

set forth herein.

                                                9.

        Responding to the first sentence contained in Paragraph 9 of Plaintiff’s Complaint,

Defendant admits that it owed those duties required by law, but denies the remaining allegations.

Responding further, Defendant denies the allegations contained in the second sentence of




                                           PAGE 3 OF 6
          Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 18 of 43




Paragraph 9 of Plaintiff’s Complaint, and all subparagraphs in Paragraph 9.

                                                  10.

          Defendant denies the allegations contained in Paragraph 10 of Plaintiff’s Complaint.

                                                  11.

          Defendant incorporates herein its responses to Paragraphs 1 through 10 above as if fully

set forth herein.

                                                  12.

          Defendant denies the allegations contained in Paragraph 12 of Plaintiff’s Complaint.

                                                  13.

          Responding to the last unnumbered Paragraph of Plaintiff’s Complaint, and all

subparagraphs contained therein, this Defendant denies that Plaintiff is entitled to any recovery

against this Defendant in any form, fashion or amount whatsoever.

                                                  14.

          Any allegations in Plaintiff’s Complaint not specifically responded to above, are hereby

denied.

          WHEREFORE, having fully responded to Plaintiff’s Complaint, Defendant Franklin

Johnston Group Management & Development, LLC demands that same be dismissed with costs

assessed against the Plaintiff.

                  This 30th day of March, 2022.

                                                        COPELAND, STAIR,
                                                        VALZ & LOVELL, LLP


                                                  By:     /s/ Jay M. O’Brien
                                                        JAY M. O’BRIEN
                                                        State Bar No.: 234606
                                                        Counsel for Defendants


                                             PAGE 4 OF 6
       Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 19 of 43




191 Peachtree Tower, Suite 3600
191 Peachtree Street NE
Atlanta, Georgia 30303-1740
Phone: 404-522-8220
jobrien@csvl.law




                                  PAGE 5 OF 6
        Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 20 of 43




                                 CERTIFICATE OF SERVICE

       I hereby certify that I have this day served a copy of the within and foregoing

DEFENDANT FRANKLIN JOHNSTON GROUP MANAGEMENT & DEVELOPMENT,

LLC’S ANSWER TO PLAINTIFF’S COMPLAINT upon all parties to this matter via

electronic filing and service to counsel of record as follows:

                                           Noah Rosner
                                     Rosner Law Group, P.C.
                                    Northridge 400, Building 2
                                      8325 Dunwoody Place
                                       Atlanta, GA 30350
                                     noahrosner@yahoo.com
                                       Counsel for Plaintiff

       This 30th day of March, 2022.

                                                 COPELAND, STAIR,
                                                    VALZ & LOVELL, LLP


                                                 By: /s/ Jay M. O’Brien
                                                    JAY M. O’BRIEN
                                                    State Bar No.: 234606
                                                    Counsel for Defendants




                                            PAGE 6 OF 6
                                                                               State Court of Fulton County
       Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 21 of 43                          **E-FILED**
                                                                                                22EV001223

                                        Exhibit E
                                                                                         3/30/2022 9:57 AM
                                                                                Christopher G. Scott, Clerk
                                                                                               Civil Division
                      IN THE STATE COURT OF FULTON COUNTY
                                STATE OF GEORGIA

ANIELKA MEDRANO,          )
                          )
           Plaintiff,     )
                          )
v.                        )
                          )
                                                                 Civil Action
                          )
FC OAKS, LLC and FRANKLIN                                   File No.: 22EV001223
                          )
JOHNSTON GROUP MANAGEMENT
                          )
& DEVELOPMENT, LLC,       )
                          )
           Defendants.    )

                               DEFENDANTS JURY DEMAND

       COMES NOW, Defendants in the above-styled civil action, and within the time permitted

by law, hereby demands a jury of twelve on all issues of fact.

               This 30th day of March, 2022.


                                                      COPELAND, STAIR,
                                                         VALZ & LOVELL, LLP


                                                By:     /s/ Jay M. O’Brien
                                                      JAY M. O’BRIEN
                                                      State Bar No.: 234606
                                                      Counsel for Defendants
191 Peachtree Tower, Suite 3600
191 Peachtree Street NE
Atlanta, Georgia 30303-1740
Phone: 404-522-8220
jobrien@csvl.law
       Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 22 of 43




                                   CERTIFICATE OF SERVICE

       I hereby certify that I have this day served a copy of the within and foregoing

DEFENDANTS JURY DEMAND upon all parties to this matter via electronic filing and service

to counsel of record as follows:

                                           Noah Rosner
                                    ROSNER LAW GROUP, P.C.
                                    Northridge 400, Building 2
                                      8325 Dunwoody Place
                                       Atlanta, GA 30350
                                     noahrosner@yahoo.com
                                       Counsel for Plaintiff

       This 30th day of March, 2022.

                                                COPELAND, STAIR,
                                                   VALZ & LOVELL, LLP


                                                By: /s/ Jay M. O’Brien
                                                   JAY M. O’BRIEN
                                                   State Bar No.: 234606
                                                   Counsel for Defendants




                                               -2-
Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 23 of 43


                       Exhibit F
Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 24 of 43
Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 25 of 43
Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 26 of 43
Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 27 of 43
Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 28 of 43
Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 29 of 43
Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 30 of 43
Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 31 of 43
Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 32 of 43
Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 33 of 43
Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 34 of 43
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Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 36 of 43
Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 37 of 43
  Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 38 of 43

                            Exhibit G
Franklin Johnston Group Management & Development, LLC: Members

              Name                             Citizenship
         Beach One, LLC                         Virginia
   Johnston Family Group, LLC                   Virginia
         Stephen Cooper                         Virginia
        Thomas C. McKee                         Virginia
                                     Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 39 of 43
                                                               Exhibit H
                                                          FC Oaks, LLC: Members
Entity                            Address                                  City              State/province   Country   Postal Code
Alfred Marshall Acuff Jr                                                   Midlothian        VA               US        23113
Alvin Williams                                                             Virginia Beach    VA               US        23454
Bessie Banks Marital Trust                                                 Virginia Beach    VA               US        23462
Beverly G Frieden                                                          Virginia Beach    VA               US        23462
Bulldog Timber Mgmt LLC                                                    Charlotte         NC               US        28203
Chatsworth Investments II LLC                                              Charlottesville   VA               US        22903
Chatsworth Investments LLC                                                 Charlottesville   VA               US        22903
Chris Madden                                                               Virginia Beach    VA               US        23451
Christopher Daniel Garson Trust                                            Richmond          VA               US        23229
David Faggert                                                              Virginia Beach    VA               US        23462
Davlin-Siegel Investments LLC                                              Virginia Beach    VA               US        23451
Elizabeth Palmer Garson Trust                                              Virginia Beach    VA               US        23451
G Dudley Ware                                                              Virginia Beach    VA               US        23451
George M & Agnes T Harvin                                                  Henderson         NC               US        27537
Ha To Van Revocable Trust                                                  Virginia Beach    VA               US        23462
Heather Peebles Garson Trust                                               Richmond          VA               US        23229
Jagged Investments LC                                                      Chesapeake        VA               US        23320
James & Sandra Starkey                                                     Rockville         VA               US        23146
Jason Family LLC                                                           Norfo k           VA               US        23514
John Van                                                                   Virginia Beach    VA               US        23455
Lan Van                                                                    Virginia Beach    VA               US        23462
Leon Properties LLC                                                        Norfo k           VA               US        23510
Lindsey Ann Nusbaum 2009 Trust                                             Norfo k           VA               US        23510
Marcus Van                                                                 San Diego         CA               US        92106
Mark Bundy Revocable Trust                                                 Virginia Beach    VA               US        23451
Matthew R Nusbaum 2009 Trust                                               Norfo k           VA               US        23510
Melton McGuire Estate                                                      Charlottesville   VA               US        22903
MGAW LLC                                                                   Norfo k           VA               US        23510
Michael Van & Tran Le                                                      Norfo k           VA               US        23502
Paris Ventures LLC                                                         Virginia Beach    VA               US        23454
Paul Hirschbiel IRA                                                        Westlake          OH               US        44145
Paul Van                                                                   Virginia Beach    VA               US        23451
Rahim Kanji                                                                Virginia Beach    VA               US        23462
REHI2 LLC                                                                  HENDERSON,        NC               US        27536
Robey & Jean Estes                                                         Richmond          VA               US        23220
Ronald M Kramer                                                            Virginia Beach    VA               US        23454
S Neil & Stephanie Morrison                                                Virginia Beach    VA               US        23464
Sara C Peebles Trust                                                       Virginia Beach    VA               US        23451
SLN FortCap LLC                                                            Norfo k           VA               US        23510
Stanley Cohen IRA                                                          Merrick           NY               US        11566
Trinidad Sucgang                                                           Duncan            SC               US        29334
William D Garson                                                           Richmond          VA               US        23235
William Peebles                                                            Richmond          VA               US        23226
FC Legacy (CP Buyout)                                                      Virginia Beach    VA               US        23451
ARKA Capital LLC                                                           Virginia Beach    VA               US        23462
Ellen Eisenberg                                                            Newport News      VA               US
Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 40 of 43
                           Exhibit I
Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 41 of 43
Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 42 of 43
Case 1:22-cv-01250-CAP Document 1-1 Filed 03/30/22 Page 43 of 43
